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 1   DAVID W. DRATMAN
     Attorney at Law
 2   State Bar No. 78764
     1007 7th Street, Suite 305
 3   Sacramento, California 95814
     Telephone: (916) 443-2000
 4   Facsimile: (916) 443-0989
     Email: dwdratman@aol.com
 5
     Attorney for Defendant
 6   ANDRE RAMON WASHINGTON
 7
                             IN THE UNITED STATES DISTRICT COURT
 8
                            FOR THE EASTERN DISTRICT OF CALIFORNIA
 9
10   UNITED STATES OF AMERICA,                           CASE NO. 2:18-CR-0061-JAM
11                  Plaintiff,                           STIPULATION AND ORDER
                                                         RESETTING SENTENCING SCHEDULE
12           vs.                                         (AMENDED)
13   ANDRE RAMON WASHINGTON,
14                  Defendant.
15
16          IT IS HEREBY STIPULATED BETWEEN the parties with the concurrence of the

17   Probation Department that the Judgment and Sentencing scheduled for October 1, 2019

18   9:15 a.m. be continued to October 22, 2019 at 9:15 a.m.; and, that the following sentencing
19   schedule be adopted:
20          Judgment and Sentencing Date:                                        October 22, 2019
21
            Reply, or Statement of Non-Opposition:                               October 15, 2019
22
            Motion for Correction of the Presentence Report shall be filed
23          with the Court and served on the Probation Officer and opposing
            counsel no later than:                                               October 8, 2019
24
25         The Presentence Report shall be filed with the Court and disclosed
           to counsel no later than:                                             September 24, 2019
26
           Counsel's written objections to the Presentence Report shall be
27         delivered to the Probation Officer and opposing counsel no later
28         than:                                                                September 17, 2019


               STIPULATION AND [PROPOSED] ORDER RESETTING SENTENCING SCHEDULE
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 1         The proposed Presentence Report shall be disclosed to counsel
           no later than:                                                  September 10, 2019
 2
 3
 4   DATED: August 21, 2019                        /s/ David W. Dratman
                                                   DAVID W. DRATMAN
 5                                                 Attorney for Defendant
 6                                                 ANDRE RAMON WASHINGTON

 7
 8   DATED: August 21, 2019                        MCGREGOR W. SCOTT
                                                   United States Attorney
 9
                                               By: /s/ Timothy H. Delgado*
10                                                 TIMOTHY H. DELGADO
                                                   Assistant U.S. Attorney
11
                                                   *Signed with permission
12
                                              ORDER
13
           IT IS SO ORDERED.
14
15   DATED: August 22, 2019                    /s/ John A. Mendez____________
                                               HON. JOHN A. MENDEZ
16                                             United States District Court Judge
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              STIPULATION AND [PROPOSED] ORDER RESETTING SENTENCING SCHEDULE
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